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ORIGINAL
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                                                             By TamaraEllis at 3:58 pm, Jul 22, 2020
                             United States Court of Appeals
                                          FIFTH CIRCUIT
                                       OFFICE OF THE CLERK
       LYLE W. CAYCE                                                          TEL. 504-310-7700
       CLERK                                                               600 S. MAESTRI PLACE,
                                                                                   Suite 115
                                                                          NEW ORLEANS, LA 70130

                                      July 22, 2020

      #02246831
      Mr. Joe L. Lutz
      CID Ney Unit
      114 Private Road 4303
      Hondo, TX 78861

              No. 20-10723      Joe Lutz v. Sheriff Bill Waybourn, et al
                                USDC No. 4:18-CV-341 -P


      Dear Mr. Lutz,
      We have docketed your appeal with the 5th Circuit number shown
      above.   Please use this number in all future contact with the
      court. If you have more than one appeal, you will have to comply
      with the instructions below for each appeal.   Read this letter
      carefully because you have 45 days to make two decisions and to
      notify us what you want to do, or we may dismiss your appeal
      without further notice:
      The Prison Litigation Reform Act, 28 U.S.C. § 1915, generally
      requires you to make arrangements to pay the $505.00 filing fees
      before this court will consider your appeal.    Knowing that you
      must pay for your appeal, the first decision you must make is if
      you want to continue with your case.      If you do not want to
      continue, you may voluntarily dismiss your appeal now using the
      attached Form 1. When we get your Form 1 we will dismiss your
      case and you do not have to do anything more.
      If you want your case to continue, the second decision you must
      make is how you will pay the fees. You may either:
           (1) Make a one time payment of $505.00 to the district court
           clerk; or,
           (2) Apply to the district court for permission to appeal in
           forma pauperis (IFP). If you want this option you should contact
           the district court for specific instructions and any forms they
           have, and should contact your prison authorities for
           instructions how to get a "certified trust fund account
           statement." Also, if your prison requires them, you must sign
           consent forms and authorizations to have money taken from your
           account. You must send these forms to the district court, along
           with your motion to proceed on appeal in forma pauperis, your
           certified trust fund account statement and any other required
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  documents.   If the district court grants you permission to
  appeal IFP, you will have to pay an "initial partial filing fee"
  calculated by the court. You must pay this initial fee from
  your inmate trust fund account. If your account does not have
  enough money to pay the full initial fee, all money in your
  account will be collected and the remainder taken when more
  funds exist. After this initial fee is paid, you still will
  have to pay the rest of the $505.00 fee from your prison trust
  fund account.
If you have not already paid the full filing fee to the district
court, or applied to the district court for permission to appeal
IFP, you should do so immediately.
You have 45 days from the date of this letter to tell us what your
decision is on your case. If you want to dismiss your case, send
us a completed Form 1. If you want to continue your case, send us
a completed Form 2 showing us how you are going to pay for your
appeal. If you are using Form 2, please read it very carefully,
and then mark one of the three boxes on it. You must complete and
return either Form 1 or Form 2 to us within 45 days of the date of
this letter or we may dismiss your appeal without further notice.
ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit's website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
www.ca5.uscourts.gov/cmecf/.
We recommend that you visit the Fifth Circuit's website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner's Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court's records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding.     It is the obligation of
counsel to
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obligation to notify the court whenever sealing is no longer
necessary.   An unopposed motion to seal does not obviate a
counsel's obligation to justify the motion to seal.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Claudia N. Farrington, Deputy Clerk
                                 504-310-7706
Enclosure(s)
cc w/encl:
     Ms. Ann Hahn
     Mr. James Thomas Jeffrey Jr.
     Ms. Karen S. Mitchell
     Mr. Melvin Keith Ogle
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                                     FORM 1

                  IN THE UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT
                             ___________________
                                 No. 20-10723
                              ___________________

Joe L. Lutz,
                         Plaintiff - Appellant
v.
Sheriff Bill Waybourn; Paul Duncan, Director, JPS Hospital; John
Mills, MD; Joel Fitzgerald; City of Mansfield, Texas; Office of
the Attorney General,
                         Defendants - Appellees


                          MOTION TO DISMISS APPEAL
Under the provisions of the 5TH CIR. R. 42.1, I hereby move to
voluntarily dismiss the appeal in this case.

                                            ________________________
                                                (name of appellant)
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                                  FORM 2
            ELECTION OF OPTIONS AND NOTICE TO THE COURT
Fifth Circuit Case Number:        20-10723
Fifth Circuit Case Caption:       Joe Lutz v. Sheriff Bill Waybourn,
et al
USDC Case Number:      4:18-CV-341

(To inmate completing this form.       Please place an "x" in the
appropriate box)
[ ]On (date) _____________ , the $505.00 filing fees were paid to
the   district court clerk of the U.S. District Court for the
__________________ District of _________________ . If you have
a copy of a receipt from the district court, please attach it.
[ ]On (date) _____________ , I applied to the United States
District Court for the       __________________   District of
__________________ for permission to appeal in forma pauperis
(IFP). If you have a copy of the motion to the district court,
please attach it.
[ ]On (date) _____________ , the United States District Court for
the         ______________________________         District    of
__________________   granted me permission to proceed on appeal
IFP. If you have a copy of the district court's order, please
attach it.
YOU MUST COMPLETE AND RETURN THIS FORM WITHIN 45 DAYS OF THE DATE
OF THE FORWARDING LETTER OR YOUR APPEAL MAY BE DISMISSED WITHOUT
FURTHER NOTICE.
           (Name)                    _______________________
           (Prisoner Number)         _______________________
           (Address)                 _______________________
                                     _______________________
                                     _______________________
                                     _______________________
                                     _______________________
